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                   IN THE UNITED STATES DISTRICT COURT FOR
                      THE WESTERN DISTRICT OF OKLAHOMA
 KIOWA TRIBE and COMANCHE                      )
 NATION,                                       )
   Plaintiffs,                                 )
                                               )
     v.                                        ) CIV-22-425-G
                                               )
 THE UNITED STATES                             )
 DEPARTMENT OF THE INTERIOR,                   )
 et al.                                        )
     Defendants.                               )

                THE FEDERAL DEFENDANTS’ MOTION FOR LEAVE
                         TO FILE OVERSIZED BRIEF

          Defendants United States Department of the Interior (“DOI”); Bryan Newland, in

his Official Capacity as Assistant Secretary – Indian Affairs (“Assistant Secretary

Newland”); Darryl LaCounte, in his Official Capacity as Director of the Bureau of Indian

Affairs (“Director LaCounte”); and Sequoyah Simermeyer, in his Official Capacity as

Chairman (“Chairman Simermeyer”) of the National Indian Gaming Commission

(“NIGC”) (collectively “Federal Defendants”) move pursuant to LCvR 7.1(e) & (k)(9) for

leave to file a Reply to the Responses to the Federal Defendants’ Motion to Dismiss of up

to 20 pages in length. In support of this motion, the Federal Defendants respectfully submit

the following:

1.        Specific reasons for Defendants’ request:

          The Federal Defendants are requesting an additional 10 pages for their Reply to the

Responses to the Federal Defendants’ Motion to Dismiss. The Federal Defendant’s Reply

will be one unified brief addressing the Responses of both Plaintiffs the Kiowa Tribe and

the Comanche Nation, and therefore additional pages may be necessary. In an abundance
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of caution, the Federal Defendants ask that they be allowed the additional 10 pages to

ensure the issues are fully briefed.

2.     Conferral with Opposing Counsel:

       The undersigned counsel has conferred with opposing counsel who have no

objection to the request.

                                       Prayer for Relief

       The Federal Defendants respectfully seek an order authorizing an oversized brief of

up to 20 pages in length. This is a LCvR 7.1(k) motion requiring no brief. A proposed order

will be submitted with this motion.

                                            Respectfully Submitted,

                                            ROBERT J. TROESTER
                                            United States Attorney

                                            s/ Cara Rodriguez
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